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RETURN OF SERVICE

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KDY2023045685
vs.

Defendant:
yvW CREDIT, INC., A FOREIGN FOR-PROFIT COMPANY

For:

JOSHUA FEYGIN, PLLC
4930 HARRISON ST.
STE 208F
HOLLYWOOD, FL 33020

Received by KD PROCESS on the 20th day of September, 2023 at 10:42 am to be served on vw CREDIT, INC. C/O ITS
REGISTERED AGENT, CORPORATION SERVICE COMPANY, 4201 HAYS ST., TALLAHASSEE, FL 32301.

|, Christopher Scott Kady, do hereby affirm that on the 20th day of September, 2023 at 12:10 pm, i

served a CORPORATE, PARTNERSHIP, ASSOCIATION OR GOVERNMENT SERVICE Served the within named business entity
by delivering 4 true copy of SUMMONS IN A CIVIL ACTION, AMENDED COMPLAINT, EXHIBIT A, EXHIBIT B to: Sebrena
Randolph 25 Service Liaison, 30 employee of the Registered Agent after confirming the Registered Agent was not in the office OF
was othenwise unavailable, pursuant to the requirements of Fla. Stat. 48.091, and informed said person of the contents therein, at
4201 Hays Street, TALLAHASSEE. FL 32301. 0n behalf of VW CREDIT, INC., and informed said person of the contents therein,
in compliance with state statutes.

Description of Person Served: Age: 50, Sex: F; Race/Skin Color: Black, Height: 5110", , Hain Black, Glasses- ¥
Progess Server, in good standing, in
ve read the foregoing document
525

\ certify that }am over the age of 18, have no interest in the above action, andam a Certifi
the judicial circuit in which the process was served. "Under penalties of perjury, | declare that |
and that the facts in it are true" F.S. 92.525. NOTARY NOT REQUIRED PURSUANT TO

Christopher S
Process Server #PS7

Our Job Serial Number: KDY-2023045685

Copyright © 1992-2023 DreamBuilt Software. Inc, - Process Server's Toolbox V8.2F
Case 2:23-cv-14201-
201-KMM Document16 Entered on FLSD Docket 09/20/2023 Page 2 of 2

Case 2:23-cv-14201-KMM Document 15 Entered on FLSD Docket 09/20/2023 Page 1of1

AO 440 (Rev 06/12) Summons ina Civil Action

UNITED STATES DISTRICT COURT

for the

Southern District of Florida
AA!
[7}}
DARRELL DWAYNE EVANS,

An Individual, SEP 2 0) 2023

17.00"

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Plaintiff(s) )
7 Civil Action No. 2:23-ev-14201

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VW CREDIT, INC..
A foreign for-profit company,

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) WW CREDIT, INC.
C/o its Registered Agent,
Corporation Service Company
4201 Hays Street
Tallahassee, FL 32301-2525

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you reecived it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attomey,
whose name and address are: SUE YOUR DEALER - A LAW FIRM

4930 Harrison Street

Suite 208 F

Hollywood, FL 33020

Tel: (954) 228-5674

Fax: (954) 697-0357

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer OF motion with the court.
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LITRE Deputy Clerk
Angela E Noble U.S. District Courts

Clerk of Court
